UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------- x
 ISMAEL A. REYES,
                                                  :   22 Civ. 6765 (KPH)
                                       Plaintiff,
                                                  :
             - against -
                                                  :
 SMALL BUSINESS ADMINISTRATION,
 ISABEL GUZMAN, in her official capacity as       :
 Administrator of the Small Business
 Administration, JANET YELLEN, in her official :
 capacity as Secretary of the Treasury, and
 THE UNITED STATES OF AMERICA,                    :

                           Defendants. :
 ----------------------------------- x



        MEMORANDUM OF LAW IN SUPPORT OF THE DEFENDANTS’
    MOTION TO DISMISS THE COMPLAINT FOR LACK OF SUBJECT MATTER
             JURISDICTION AND FAILURE TO STATE A CLAIM




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                                 PRELIMINARY STATEMENT

       Plaintiff Ismael A. Reyes (“Plaintiff”) has filed this action seeking injunctive and

declaratory relief against the United States Small Business Administration (the “SBA”); Isabella

Guzman (“Guzman”), the Administrator of the SBA; Janet Yellen (“Yellen”), Secretary of the

United States Department of the Treasury (the “Treasury”); and the United States of America

alleging violations of the Administrative Procedure Act (the “APA”), 5 U.S.C. § 706, in

connection with the SBA’s denial of his application for an Economic Impact Disaster Loan

(“EIDL”) and other targeted SBA funds during the COVID-19 pandemic. As discussed below,

the Complaint should be dismissed pursuant to Rules 12(b)(1) and (b)(6) of the Federal Rules of

Civil Procedure for lack of subject matter jurisdiction and failure to state a claim for which relief

can be granted, respectively.

                        BACKGROUND AND LEGAL FRAMEWORK

       Through the Small Business Act of 1953, Congress established the SBA to “aid, counsel,

assist, and protect, insofar as is possible, the interests of small-business concerns” in order to

preserve the system of free competitive enterprise that is “essential” to the nation’s economic

wellbeing and security. Pub. L. 83-163, 67 Stat. 232 (1953) (codified at 15 U.S.C. § 631(a)); see

also 15 U.S.C. § 633(a) (establishing the SBA). Section 7(b)(2) of the Small Business Act

authorized the SBA to make such loans as the SBA “may determine to be necessary or

appropriate to any small business concern, private nonprofit organization, or small agricultural

cooperative located in an area affected by a disaster . . . if [the SBA] determines that the concern,

the organization, or the cooperative has suffered a substantial economic injury as a result of such

disaster . . . .” 15 U.S.C. 636(b)(2) (emphasis added). To effectuate these goals, Congress gave

the SBA “extraordinarily broad powers,” including “that of lending money to small businesses



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whenever they could not get necessary loans on reasonable terms from private lenders.” Small

Bus. Admin. v. McClellan, 364 U.S. 446, 447, 81 S.Ct. 191, 5 L.Ed.2d 200 (1960). In order to

ensure that the SBA could respond swiftly to economic developments, Congress placed the

agency under the management of a single Administrator. 15 U.S.C. § 633(a), (b)(1). Further,

Congress delegated authority to the Administrator to “make such rules and regulations as [she]

deems necessary to carry out the authority vested in [her],” and “take any and all actions” that

she “determines . . . are necessary or desirable in making, servicing, compromising, modifying,

liquidating, or otherwise dealing with or realizing on loans made under” the Small Business Act.

Id. § 634(b)(6), (b)(7).

        During the 2020 COVID-19 pandemic, the United States made available to citizens

EIDLs that the SBA manages. See Coronavirus Economic Stabilization (“CARES Act”), Pub. L.

116-136 § 1110, 134 Stat. 469 (Mar. 27, 2020); ECF No. 2 (“Complaint” or “Compl.”) ¶ 9.

Under the EIDL program, small business owners were eligible for loans of up to $2 million in

working capital to pay ordinary business expenses or business debt. Id. In the original iteration of

the CARES Act, passed on March 27, 2020, the law mandated that, with respect to an EIDL

application, the SBA “(1) approve an applicant based solely on the credit score of the applicant

and shall not require an applicant to submit a tax return or a tax return transcript for such

approval . . . .” Pub. L. 116-136 § 1110(d)(1) (codified as 15 U.S.C. § 9009) (amended by Pub.

L. No. 116-260 § 332, 134 Stat. 306 (Dec. 27, 2020)). The Consolidated Appropriations Act,

approved on December 27, 2020, amended the CARES Act provisions governing the EIDL

program such that the SBA may “use information from the Department of the Treasury to




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confirm that— (A) an applicant is eligible to receive such a loan; or (B) the information

contained in an application for such a loan is accurate.” 15 U.S.C. § 9009(d)(2). 1

         According to the Complaint, Plaintiff is a resident and business owner located at 276

Eastchester Road 2nd FL, New Rochelle, NY 10801, and operated a “marketing consulting

business.” Compl. ¶ 4. Plaintiff alleges that as a result of “COVID-19 and economic downturn,

Plaintiff[‘s] business was negatively impacted and suffered substantial economic injury.” Compl.

¶ 10. On April 21, 2021, Plaintiff applied for a COVID-related EIDL. Id.

         Plaintiff alleges that, on June 6th, 2021, Plaintiff’s application for “Targeted Advance

and Supplemental Targeted Advance Grants” were “’denied because business is not located in a

low-income community (see exhibit “A” pg 1).” Compl. ¶ 11. This allegation appears to refer to

the SBA’s Targeted EIDL and Supplemental Targeted Advance programs. From information

publicly available on SBA’s website:

         Targeted EIDL Advance: The Economic Aid to Hard-Hit Small Businesses, Non-
         Profits, and Venues Act (Economic Aid Act) provides that businesses which received a
         previous Advance in an amount less than $10,000 will have first priority for the Targeted
         EIDL Advance, which would be the difference between the amount they received and the
         $10,000 maximum. Those businesses will be the first group to receive email invites to the
         application portal. The second priority group are businesses that applied for EIDL
         assistance by Dec. 27, 2020 but did not receive an Advance. Specifically, the business
         must be located in a low-income community as defined by section 45D(e) of the Internal
         Revenue Code; suffered greater than 30 percent economic loss over an 8-week period
         since March 2, 2020, compared to the previous year; and have 300 or fewer employees.

         Supplemental Targeted Advance: The American Rescue Plan Act allows for
         Supplemental Targeted Advance payments of $5,000 to the hardest hit small businesses
         and nonprofit organizations. Applicants that may qualify for the Supplemental Targeted
         Advance must meet additional eligibility criteria. Specifically, the business must be
         located in a low-income community as defined by section 45D(e) of the Internal Revenue
         Code; suffered greater than 50 percent economic loss over an 8-week period since March
         2, 2020, compared to the previous year; and have 10 or fewer employees. The
         Supplemental Targeted Advance is in addition to the $10,000 Targeted EIDL Advance,
         for a total of up to $15,000.


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    The Complaint makes no mention of this amendment to the CARES Act.


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Available at: https://www.sba.gov/document/support-faq-regarding-targeted-eidl-advance.

       Attached to the Complaint as Exhibit A is a letter dated June 6, 2021, from SBA

addressed to Plaintiff at 276 Eastchester Road 2nd FL, New Rochelle, NY 10801, which

provides:

       “The U.S. Small Business Administration (SBA) has reviewed the Targeted Economic
       Injury Advance application you submitted and unfortunately, we are unable to approve
       your request for the following reason(s)

       Not Eligible: The applicant business is not located in a low-income community.”

Compl. Ex. A. Plaintiff alleges that he appealed this decision, providing a lease and utility bill to

show that from February 1, 2019, to June 30, 2020, the business was in a low-income community

within the meaning of SBA guidelines. Compl. ¶ 11; Ex. B. Attached to the Complaint as Exhibit

B is a copy of a 2019 residential lease for 618 Wales Avenue, Bronx, NY 10455, that expired

June 30, 2020, i.e., ten months prior to Plaintiff’s COVID EIDL application. Compl. ¶ 11 and

Ex. B. That address also differs from the address provided in Plaintiff’s application. Compl. Ex.

A.

       On June 20, 2021, Plaintiff’s COVID-related EIDL application was “denied due to Non

Eligible Business Activity business.” Compl. ¶ 12. Attached to the Complaint as Exhibit C is a

letter dated June 20, 2021, from SBA to Plaintiff, which provides:

       “. . . we are unable to offer you a Economic Injury Disaster Loan (EIDL) for the reason(s)
       described below.

       Business activity is not eligible. EIDL assistance is available only to a small business
       engaged in an eligible business activity. Business activity means the nature of the
       business conducted by the applicant.

       The information you submitted with your application does not meet SBA regulations for
       an eligible business activity.”




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Id. ¶ 12 and Ex. C (emphasis in original). Plaintiff alleges that he appealed this denial on June

23, 2021, by providing documentation of “an eligible business activity (see exhibit ‘D’ pg 2).”

Compl. ¶ 12.

       According to the Complaint, in August 2021, “during the reconsideration process, it was

established that Plaintiff filed an amended return.” Compl. 13. “Plaintiff informed the SBA that

his original 2019 Tax Returns only included his wife’s wages and due to the death of his

bookkeeper, they filed prematurely without his business income included,” id. ¶ 13, that

“Plaintiff amended the return to include the business income, however due to the IRS backlog,

the Amendment was never processed,” and that Plaintiff learned of this delay “after Plaintiff

signed form 4506-T requesting its transcripts on September 15th, 2021.” Id. Also in August 2021,

Plaintiff allegedly sent various financial statements to SBA “to show Plaintiff business was in

operation prior to the disaster.” Id. ¶ 14. Thereafter, in response to SBA’s requests, Plaintiff

provided the SBA with additional documents, including, on December 1, 2021, copies of its

amended tax returns for 2019 and 2020, which were stamped to indicate receipt by the IRS. Id.

¶¶15-19 and Exs. G and H, respectively. On December 28, 2021, the SBA allegedly informed

Plaintiff “that due to a change on [SBA’s] policies they were no longer accepting stamped

returns anymore and that Plaintiff need to wait until the IRS processed its amended returns,” and

that SBA’s reconsideration of the denial of Plaintiff’s applications “will be open for up to 6

months.” Id. ¶ 20.

       Plaintiff alleges that on “May 5th, the SBA announce[d] that the [COVID] EIDL program

is ending, and all portals will go down on May 16, 2022.” Compl. ¶ 21. Plaintiff alleges that

“[s]hortly after the SBA announced that all funds are out and that only applicants who are

obligated will be funded,” he called SBA customer service, which “confirm[ed] his file is still




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processing waiting for the IRS transcripts.” Id. ¶ 22. Plaintiff alleges that “[a]fter several months

dealing with the IRS, finally on May 13th, 2021 2 [federal tax] returns were processed. Plaintiff

immediately submitted form 4506-T in order the SBA could have access to its transcripts.”

Compl. ¶ 23. Also in May 2022, Plaintiff asked his congressman to follow up with SBA on his

behalf. Id. ¶¶ 25-27.

       On June 7, 2022, SBA customer service allegedly advised Plaintiff that the

reconsideration of the denial of his EIDL applications concluded when SBA ended the EIDL

program. Id. ¶ 27. That same day, Plaintiff claims that a “Congressional office” contacted

Plaintiff via email and forwarded updates from SBA, which purportedly explained, inter alia,

that Plaintiff’s original 2019 federal tax return originally included only his wife’s wages and

reported no business income, that “the amendment for 2019 was not accepted by the SBA for

neither the EIDL loan program or the Targeted Advance due to the IRS discrepancies,” and that

the denial of his applications would not be reconsidered as SBA was no longer reviewing

previously declined applications. Id. ¶ 28.

       Plaintiff alleges that the SBA’s reconsideration of the denial of his applications should

have remained active until May 16, 2022. Id. Plaintiff further alleges that the SBA denied his

application for EIDL funds “based upon a finding and conclusion the SBA had no authority to

find or conclude.” Compl. (introductory paragraph).




2
 The reference to “2021” appears to be a typographical error that should read “2022.” The
Complaint’s paragraphs are arranged chronologically, and, in any event, the events described in
paragraph 23 necessarily follow the events described in paragraphs 20-22, which occurred in late
2021 and Spring 2022. Likewise, the references to “2021” in paragraphs 24, 26, and 27
apparently should also be to "2022."


                                                  6
                                           ARGUMENT

A.     Legal Standards

       1.      Rule 12(b)(1)

       Under Rule 12(b)(1), a defendant may move to dismiss a complaint for lack of subject-

matter jurisdiction. See Fed. R. Civ. P. 12(b)(1). When faced with a motion to dismiss for lack of

subject-matter jurisdiction, a plaintiff must establish the court's jurisdiction by a preponderance

of the evidence. See Davis v. Kosinsky, 217 F. Supp. 3d 706, 707 (S.D.N.Y. 2016). In reviewing

a Rule 12(b)(1) motion, a district court “must take all uncontroverted facts in the complaint (or

petition) as true, and draw all reasonable inferences in favor of the party asserting jurisdiction.”

Fountain v. Karim, 838 F.3d 129, 134 (2d Cir. 2016) (quoting Tandon v. Captain's Cove Marina

of Bridgeport, Inc., 752 F.3d 239, 243 (2d Cir. 2014)). However, where there is a factual dispute,

the court may look to evidence outside the complaint to resolve any disputed issues of

jurisdictional facts. See id. In reviewing information outside the pleadings, courts may not

consider conclusory statements or hearsay, and the body of law applicable to Federal Rule of

Civil Procedure 56 applies. See Davis, 217 F. Supp. 3d at 708.

       2.      Rule 12(b)(6)

       Rule 12(b)(6) provides for dismissal of a complaint for “failure to state a claim upon

which relief can be granted.” Fed. R. Civ. P. 12(b)(6). “To survive a motion to dismiss, a

complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is

plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v.

Twombly, 550 U.S. 544, 570 (2007)). This standard is met “when the plaintiff pleads factual

content that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. A complaint should be dismissed if the plaintiff has not offered factual




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allegations sufficient to render the claims facially plausible. See id. “Where a complaint pleads

facts that are ‘merely consistent with’ a defendant's liability, it ‘stops short of the line between

possibility and plausibility of entitlement to relief.’” Iqbal, 556 U.S. at 678 (quoting Twombly,

550 U.S. at 557). A court may dismiss a complaint, even a “sufficiently well-pleaded” one, if it

contains “fanciful, fantastic, or delusional” facts. Gallop v. Cheney, 642 F.3d 364, 368 (2d Cir.

2011) (quoting Denton v. Hernandez, 504 U.S. 25, 32–33 (1992)) (internal quotation marks

omitted). However, a court should not dismiss a complaint for failure to state a claim if the

factual allegations sufficiently “raise a right to relief above the speculative level.” Twombly, 550

U.S. at 555.

       The requirement that a court accept the factual allegations in the complaint as true does

not extend to legal conclusions. See Iqbal, 556 U.S. at 678. In adjudicating a Rule 12(b)(6)

motion, a court “must confine its consideration to facts stated on the face of the complaint, in

documents appended to the complaint or incorporated in the complaint by reference, and to

matters of which judicial notice may be taken.” Leonard F. v. Israel Disc. Bank of N.Y., 199 F.3d

99, 107 (2d Cir. 1999) (internal quotation marks omitted).

       3.      Sovereign Immunity

        “[U]nder the principle of sovereign immunity [] the United States may not be sued

without its consent and [] the existence of consent is a prerequisite for jurisdiction.” Adeleke v.

United States, 355 F.3d 144, 150 (2d Cir. 2004). Absent a waiver, sovereign immunity shields

the Federal Government and its agencies from suit.’” Dep’t of the Army v. Blue Fox, 525 U.S.

255, 260 (1999) (quoting FDIC v. Meyer, 510 U.S. 471, 475 (1994)). “[A] waiver of sovereign

immunity is to be strictly construed, in terms of its scope, in favor of the sovereign.” Id. at 261

(citing Lane v. Pena, 518 U.S. 187, 192 (1996)). Where, as here, “the suit is brought against the




                                                   8
federal government, the Plaintiff bear[s] the burden to show Congress waived sovereign

immunity with respect to their claims.’” Thompson v. U.S. Dep't of Educ., No. 20-cv-693 (AJN),

2021 WL 1199493, at *2 (S.D.N.Y. Mar. 30, 2021). “[W]here a waiver of sovereign immunity

does not apply, a suit should be dismissed under [Rule 12(b)(1).]” Hamm v. United States, 483

F.3d 135, 137 (2d Cir. 2007).

        4.      The Administrative Procedure Act

        “It is well-established that the APA itself does not provide subject matter jurisdiction;

rather, it provides a cause of action for a plaintiff who has properly asserted a federal question

under 28 U.S.C. § 1331.” Brennan v. United States, No. 4:20-cv-00505-KGB, 2020 WL

3980001 at *3 (E.D. Ark. July 13, 2020) (citing Califano v. Sanders, 430 U.S. 99, 107 (1997)).

The APA limits judicial review to “[a]gency action made reviewable by statute and final agency

action for which there is no other adequate remedy in a court are subject to judicial review.” 5

U.S.C. § 704. APA review is also limited to persons “suffering legal wrong because of agency

action” and authorizes the Court to “compel agency action unlawfully withheld or unreasonably

delayed,” or “hold unlawful and set aside” agency actions that are unlawful. 5 U.S.C. §§ 702,

706. The “basic presumption of judicial review,” Abbott Labs. v. Gardner, 387 U.S. 136, 140

(1967), established under the APA may be rebutted where “statutes preclude judicial review” or

“agency action is committed to agency discretion by law,” 5 U.S.C. § 701(a); see also Brennan,

2020 WL 3980001, at *4. Under the APA, the Court may only compel an agency to take an

action that is “legally required.” Norton v. S. Utah Wilderness Alliance, 542 U.S. 55, 63 (2004).

In that situation, the Court may only compel an agency “to take action upon a matter, without

directing how it shall act.” Id.




                                                  9
    B. Plaintiff’s Claims for Injunctive and Mandamus Relief Are Expressly
       Barred by the Small Business Act

       Plaintiff’s requests for injunctive relief against the SBA should be dismissed pursuant to

Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure because they are expressly

barred by statute. Plaintiff seeks an order compelling “Defendants to fulfill their duties to

administer EIDL Loans to Plaintiff that are eligible under the criteria set out in the CARES Act”;

“save the Plaintiff[’s] place in line for the first-come, first-served funds that Congress allotted for

EIDL loans by enjoining the Defendants from dispensing $320,000 of the funds” for which

Plaintiff alleges eligibility, plus “$15,000 regarding the EIDL targeted and EIDL Targeted

advance grants for businesses located in low income area”; and “restore Plaintiff to [his] place in

queue as of the time Plaintiff[’s] application [was] denied for the EIDL Loan.” Compl. (Prayer

for Relief). Read broadly, the Complaint also takes issue with the SBA relying on the IRS for

Plaintiff’s federal tax-related information or using that information—including the fact that

Plaintiff, whose 2019 federal tax return originally reported no business income, did not file an

amended 2019 tax return including business income until 2021—to support a denial of his EIDL

applications. Compl. (introductory paragraph). 3 Yet Section 634(b)(1) of the Small Business Act

expressly bars Plaintiff’s claims for injunctive relief.

       Section 634(b)(1) provides that “no attachment, injunction, garnishment, or other similar

process, mesne or final, shall be issued against the Administrator or his property.” 15 U.S.C.

§ 634(b) (1). By its terms, section 634(b)(1) is a blanket exception that prohibits the issuance of




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  According to Plaintiff, SBA did not accept Plaintiff’s amended 2019 federal tax return “for
neither the EIDL loan program or the Targeted Advance due to the IRS discrepancies” Compl.
¶ 28 (also referring to IRS backlog); id. ¶ 30 (“Congress did not give the SBA authority to make
such a conclusion or finding, ‘if a business was or [was] not an active revenue reporting entity
prior to the disaster.”).


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any injunction against the SBA. In re Hidalgo Cty. Emergency Serv. Found., 962 F.3d 838, 840-

41 (5th Cir. 2020) (634(b)(1) (holding Section 634(b)(1) bars all injunctive relief against SBA

and declining to carve out an exception); Enplanar, Inc. v. Marsh, 11 F.3d 1284, 1290 n.6 (5th

Cir. 1994) (same); J.C. Driskill, Inc. v. Abdnor, 901 F.2d 383, 386 (4th Cir. 1990) (“[C]ourts

have no jurisdiction to award injunctive relief against the SBA.”); see also Palmer v. Weaver,

512 F. Supp. 281, 285 (E.D. Pa. 1981) (“Federal courts have consistently held that this provision

[Section 634(b)(1)] precludes the issuance of an injunction against the Administrator because the

court has no subject matter jurisdiction and therefore no power to order such relief.”). Plaintiff’s

claims for injunctive relief related to his EIDL application and related advances are thus

expressly precluded by statute, and should be dismissed. See, e.g., Bro. Petroleum, LLC v.

United States, 569 F. Supp. 3d 405, 408 (E.D. La. 2021) (denied plaintiffs’ request for

preliminary injunction regarding the SBA’s consideration of criminal history when evaluating

COVID-19 relief applications “based upon strong Fifth Circuit precedent that district courts lack

subject matter jurisdiction to grant such relief against the SBA”).

       Although a minority of courts have held that section 634(b)(1) does not pose a complete

bar to injunctive relief, even those cases are in accord that section 634(b)(1) prohibits the

issuance of injunctive relief that would “interfere with internal agency operations,” including by

attaching agency funds. Ulstein Maritime, Ltd. v. U.S., 833 F.2d 1052, 1057 (1st Cir. 1987). 4

See, e.g., Springfield Hosp., Inc. v. Guzman, 28 F.4th 403, 415 n.16 (2d Cir. 2022) (noting “our




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  In his pre-motion letter, ECF No. 16 at 1, Plaintiff relied on such cases. See DV Diamond Club
of Flint v. SBA., 459 F. Supp. 3d 943, 954 (E.D. Mich. May 11, 2020) (injunctive relief available
to set aside unlawful agency action so long as plaintiff does not seek to attach SBA assets or
otherwise interfere with its internal operations); Defy Ventures v. SBA., 469 F. Supp. 3d 459, 471
(D. Md. 2020) (same); Camelot Banquet Rooms, Inc. v. SBA, 458 F.Supp.3d 1044, 1052 (E.D.
Wis. May 1, 2020) (same).


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sister circuits are split on Section 634(b)(1)’s reach” but declining to reach issue). Ulstein is

clearly an outlier. Brennan v. United States, No. 4:20-cv-00505-KGB, 2020 WL 3980001 at *3

(E.D. Ark. July 13, 2020) (“Ulstein Maritime, to the extent it purports to authorize federal district

courts to award injunctive relief against the SBA, is against the clear weight of authority.”)

(collecting cases).

       In Oyegbola v. U.S. Small Bus. Admin., for example, plaintiff claimed that basing EIDL

applicants’ ineligibility on whether they filed 2019 tax returns in 2021 violated the CARES Act.

No. 22-cv-10698-AK, 2022 WL 2786916, at *1 (D. Mass. July 15, 2022). Oyegbola requested

the Court enjoin the defendants from relying on when tax returns were filed and “order the

defendants not to ‘authorize, guaranty, or disburse funds appropriated for loans’ under the

COVID-19 federal relief programs ‘without reserving sufficient funds to cover’ Oyegbola’s

applications and to extend the review of his application by ten days.” Id. The Court there found

that “[s]uch an injunction would attach SBA funds in direct contravention of 15 U.S.C.

§634(b)(1)” and “would also require the SBA to change the way it evaluates all EIDL

applications, which clearly interferes with internal agency operations.” Id. at *3. See also AARK

Rest. Grp. LLC v. U.S. Small Bus. Admin., No. 22-cv-01433, 2022 WL 1265531, at *4 (E.D. Pa.

Apr. 28, 2022) (“The injunctive relief Plaintiffs seek would certainly interfere with the SBA’s

internal workings, requiring me to: (1) direct the Agency to ‘expeditiously process’ Plaintiffs’

EIDL loan increase applications; (2) prohibit the Agency from considering specific evidence and

circumstances; and (3) direct the Agency to set aside $6,036,600. Injunctive relief is thus barred

under even Ulstein’s narrow waiver exception.”). 5



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  Plaintiff acknowledges that he did not amend his 2019 income tax return to report business
income until 2021; that he did not provide SBA with copies of his 2019 and 2020 tax returns



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       Likewise, in Geisler v. Small Business Administration, the Court observed that the

injunctive relief sought by Geisler “would clearly require the Court to issue an order interfering

with the internal workings of the SBA—by, for example, requiring the SBA to establish a

‘dedicated loan officer with a contact number who can answer all inquiries including who has the

power to approve or deny the loan increase’ and ‘directing that the SBA immediately review and

reconsider the Plaintiff's EIDL increase application within three (3) days, reviewable by this

Court’—and attach agency funds.” No. 21-cv-01692, 2022 WL 1002766, at *3 (W.D. Pa. Apr. 4,

2022). 6 Accordingly, in concluding that it lacked subject matter jurisdiction, the Geisler court

found that it need “not decide the precise contours of Section 634(b) (1) here because the relief

Mr. Geisler seeks runs afoul of even the narrowest construction of the statute.” Id. at *4.

         As in Oyegbola, Geisler, and AARK, requiring the SBA to revisit the denial of

Plaintiff’s applications, refrain from dispensing $320,000 in loans and/or $15,000 in advances,

“restore Plaintiff to [his] place in queue as of the time Plaintiff[’s] application [was] denied,” and

refrain from consideration of certain information would clearly interfere with the SBA’s internal

operations, particularly because the COVID EIDL program was discontinued and Plaintiff seeks

to attach agency funds. See also, e.g., Celebration Law P.A. v. Carranza, No. 20-cv-00665, 2020



until December 2021; and that the returns were still being processed and otherwise considered by
the IRS as of May 2022 and that the SBA was waiting for the IRS to forward Plaintiff’s tax
transcripts. Compl. ¶¶ 13, 16, 18, 20, 22-24, 28. Although the CARES Act, as originally enacted,
required the SBA to “(1) approve an [EIDL] applicant based solely on the credit score of the
applicant and shall not require an applicant to submit a tax return or a tax return transcript for
such approval,” Pub. L. 116-136 § 1110(d)(1) (March 27, 2020), the December 27, 2020,
amendments to the CARES Act permitted the SBA to “use information from the Department of
the Treasury to confirm that . . . (A) an applicant is eligible to receive such a loan; or (B) the
information contained in an application for such a loan is accurate” before granting EIDL
applications. 15 U.S.C. § 9009(d)(2).
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  As in Oyegbola and here, Geisler did not provide the IRS with the necessary 2019 tax year
information until 2021. Geisler, 2022 WL 1002766, at *1.


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WL 4815821, at *3 (M.D. Fl. Aug. 19, 2020) (“Given the SBA’s use of the Per Employee Rule

in awarding and obligating all EIDL grants to date and the near-depletion of the EIDL grant

appropriation, requiring Respondent to stop using the Per Employee Rule and instead award each

Petitioner $10,000 would likely interfere with the SBA’s internal operations.”). For the foregoing

reasons, this Court should dismiss Plaintiff’s requests for injunctive relief against the SBA in

their entirety for lack of jurisdiction. See Compl. ¶ 40 (Count II); id. ¶ 52 (Count III); id. ¶ 63

(Count IV); id. (Prayer for Relief). See Keita v. U.S. Small Business Admin., No. 07–CV–4958

(ENV) (LB), 2010 WL 395980, at *4 (E.D.N.Y. Feb. 3, 2010) (“Since Keita seeks only

injunctive relief, the Small Business Act expressly denies the Court subject matter jurisdiction to

review the SBA loan denial decisions.”).

       Plaintiff’s request for mandamus relief should also be dismissed for lack of jurisdiction

and failure to state a claim. Compl. ¶¶ 64-69 (Count V). It falls within the injunction bar of

Section 634(b)(1), which bars “attachment, injunction, garnishment, or other similar process,

mesne or final . . . . against the Administrator or h[er] property.” 15 U.S.C. § 634(b)(1)

(emphasis added). It also fails because the SBA’s decision concerning the granting of a loan is

one committed to agency discretion by law. See, e.g., Copake Lake Dev. Corp. v. U.S. Gov’t, 490

F. Supp. 386, 389 (E.D.N.Y. 1980) (“[T]he decision concerning the granting of a loan by the

SBA is one firmly committed to agency discretion, and other courts that have considered the

question are uniformly in agreement on this point.”); see also, e.g., Burrell v. U.S., 467 F.3d 160,

164 (2d Cir. 2006) (citing Work v. United States ex rel. Rives, 267 U.S. 175, 177 (1925)

(“Mandamus issues to compel an officer to perform a purely ministerial duty. It cannot be used

to compel or control a duty in the discharge of which by law he is given discretion.”)); District

Council No. 9 v. Empire State Regional Council of Carpenters, 589 F. Supp. 2d 184, 192-93




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(E.D.N.Y. 2007) (“Of course, it is an equally venerable principle that mandamus will only lie to

require performance of a purely ministerial act; when the statutory or corporate provision sought

to be enforced is discretionary, mandamus is not available.”); OneSimpleLoan v. U.S. Secretary

of Educ., No. 06 Civ. 2979 (RMB), 2006 WL 1596768, at *6 (S.D.N.Y. June 9, 2006)

(“Plaintiffs’ requested relief ‘in the nature of a mandamus’ appears to the Court to fall squarely

within the meaning of the phrase ‘other similar process’ in [20 U.S.C.] § 1082(a)(2),” the anti-

injunction provision of the Federal Family Education Loan).

C.     Plaintiff Fails to State Cognizable Claims Under the APA or the CARES Act

       Plaintiff’s claim for declaratory relief should likewise be dismissed pursuant to Rule

12(b)(6). Specifically, he seeks to have “SBA actions”—including its consideration of tax

information received directly from the IRS—declared “contrary to the CARES Act,” and “SBA’s

actions, conclusions, and decisions” in denying his applications and appeals declared “arbitrary

and capricious.” Compl. (Prayer for Relief at ¶¶ A, B; see id. ¶¶ 53-63 (alleging that the SBA’s

actions were arbitrary and capricious under 5 U.S.C. § 706(2)(A)). Yet Plaintiff’s claims are

deficient in a number of key respects.

       First, the APA does not permit review of agency actions which are “committed to agency

discretion by law.” 5 U.S.C. § 701(a)(2); see Weyerhaeuser Co. v. U.S. Fish & Wildlife Serv.,

139 S. Ct. 361, 370 (2018). This exception applies “where the relevant statute is drawn so that a

court would have no meaningful standard against which to judge the agency’s exercise of

discretion.” Weyerhaeuser, 129 S. Ct. at 370 (citation omitted). Such is the case here. Under the

Small Business Act, the SBA makes loans as it “may determine to be necessary or appropriate.”

15 U.S.C. § 636(b)(2) (emphasis added). Similarly, § 1110(e) provides that an eligible entity

“that applies for a loan under [15 U.S.C. § 636(b)(2)] in response to COVID-19 may request that




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the Administrator provide an advance that is, subject to paragraph (3), in the amount requested

by such applicant to such applicant within 3 days after the Administrator receives an application

from such applicant.” Pub. L. No. 116-136, § 1110 134 Stat. 281, 307 (2020) (emphasis added).

       The “word ‘may’ clearly connotes discretion,” Biden v. Texas, 142 S.Ct. 2528, 2541

(2022), and the allocation of lump-sum appropriations is typically considered a discretionary act,

see Lincoln v. Vigil, 508 U.S. 182, 192 (1993) (“The allocation of funds from a lump-sum

appropriation is another administrative decision traditionally regarded as committed to agency

discretion. After all, the very point of a lump-sum appropriation is to give an agency the capacity

to adapt to changing circumstances and meet its statutory responsibilities in what it sees as the

most effective or desirable way.”); see also Weyerhaeuser, 129 S. Ct. at 370 (explaining that the

“few cases in which we have applied the § 701(a)(2) exception involved agency decisions that

courts have traditionally regarded as unreviewable, such as the allocation of funds from a lump-

sum appropriation”); 7 Shumaker v. Guzman, No. 7:21-CV-00477, 2022 WL 2902843, at *7 (S.D.

Tex. Apr. 4, 2020) (“With respect to funding requested EIDL Advances, the Court agrees that §

1110(e) of the CARES Act does not require the SBA to provide an EIDL Advance. Instead, §

1110(e) allows an individual to request an EIDL Advance from the SBA. While § 5002(b)(2)(B)

of the American Rescue Plan Act of 2021 includes the word ‘shall,’ the word is used to state how

the SBA Administrator is to use appropriated funds; ‘shall’ is not used to require the SBA

Administrator to fund all requested EIDL Advances. Thus, the decision to fund a requested EIDL

Advance is also committed to agency discretion by law. Since Plaintiff's breach of contract claim

is based on at least one of the decisions described above, Plaintiff's breach of contract claim must



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 Copake Lake Dev. Corp., 490 F. Supp. at 389 (the SBA’s decision to grant loan “firmly
committed to agency discretion”); Pramco, LLC v. Torres, 286 F. Supp. 2d 164,169 (D.P.R.
2003) (same).


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be dismissed for lack of jurisdiction.”); LIT Ventures, LLC v. Carranza, 457 F.Supp.3d 906, 911

(D. Nev. 2020) (denying injunctive and mandamus relief “[b]ecause the CARES Act does not

create a mandatory, ministerial duty” to grant advances under § 1110(e)).

       The CARES Act as amended does not alter the discretion afforded to the Administrator.

While the CARES Act briefly did contain a limit on the SBA’s discretionary decisionmaking, by

not permitting the SBA to rely on tax return information to determine eligibility for EIDL

funding, Congress amended the CARES Act on December 27, 2020, to provide that the SBA

“may use information from the Department of the Treasury to confirm that (A) an applicant is

eligible to receive such a loan; or (B) the information contained in an application for such a loan

is accurate.” 15 U.S.C. § 9009(d)(2) (emphasis added). This amendment allowing consideration

of information from the IRS took place before Plaintiff applied for an EIDL on April 21, 2021.

See Compl. ¶ 10. 8 Here, too, the language is discretionary. In providing simply that the SBA may

consider tax information to confirm applicant eligibility and the accuracy of information in a

loan application, 15 U.S.C. § 9009(d)(2), the CARES Act provides no discernable standard

regarding the SBA’s review of Treasury information, including tax returns or transcripts, that

allows for any meaningful judicial review. See Weyerhaeuser, 129 S. Ct. at 370. Accordingly,

the SBA’s actions here were committed to agency discretion by law and are therefore

unreviewable. See, e.g., Shumaker v. Guzman, No. 21-CV-00477, 2022 WL 2902843, at *7 (S.D.

Tex. Apr. 4, 2022) (decision to increase or advance EIDL loan is “committed to agency

discretion by law”); Brennan v. United States, No. 20-CV-00505, 2020 WL 3980001, at *9 (E.D.



8
 In June 2021, i.e., before Plaintiff’s 2019 and 2020 tax information were available to the SBA
via the IRS, his EIDL advance application was denied on the ground that Plaintiff’s business was
not located in a low-income community, id. ¶11 and Ex. A at 1, and Plaintiff’s EIDL application
was initially denied on the ground that his business activity was not eligible. Compl. ¶ 12 and
Ex. C at 1.


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Ark. July 14, 2020) (“[T]he CARES Act vests the Administrator with discretion.”); LIT

Ventures, LLC v. Carranza, 457 F. Supp. 3d 906, 910 (D. Nev. 2020) (“Congress therefore

granted the SBA discretion to determine what EIDLs were ‘necessary and appropriate.’”); Keita,

2010 WL 395980, at *3 (“Here, the Court lacks guidance to adjudge the SBA’s exercise of its

discretion because Keita seeks review of the individual economic judgments that comprised the

SBA’s decision that his loans were not “necessary or appropriate.””).

       While the CARES Act waived certain eligibility requirements for COVID EIDLs,

nothing in the CARES Act limited the SBA’s discretionary decision-making authority under

Section 7(b)(2) of the Small Business Act. Nor does anything in the CARES Act or Section

7(b)(2) provide applicants a de facto entitlement to loan approval merely by submitting required

or requested documentation. Thus, even if the SBA had denied Plaintiff’s request for an advance

or an EIDL, because of issues with his tax returns or otherwise, the Complaint includes no

plausible factual basis for finding that the SBA’s decision exceeded its authority under the

CARES Act. The CARES Act having expressly authorized the SBA to consider information

received directly from the IRS in determining EIDL eligibility, Plaintiff’s suggestion that the

SBA somehow acted inconsistently or improperly in seeking such information—instead of

relying on the copies of the 2019 and 2020 returns that Plaintiff provided to SBA, whether

“stamped” by the IRS or not—is frivolous and otherwise fails to state a claim. See Compl. ¶ 15-

16, 18, 20; see also Plaintiff’s pre-motion letter, ECF No. 16, at 3-4 (“The Defendants have

implemented a regulation, creating additional eligibility criteria sub silentio while adjudicating

individual C[OVID] EIDL loans. . . . The plain reading of 15 USC §9009(d)(2)(A) or (B) does

not support the interpretation that a 2019 and 2020 amended tax returns stamped and received by

the IRS in 2021 renders the applicant ineligible to participate in the EIDL program.”).




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       Second, Plaintiff failed to adequately plead facts sufficient to show that he was eligible to

receive an EIDL. The statutory language provides that the SBA may decide to grant such loans

“if [the SBA] determines that the concern, the organization, or the cooperative has suffered a

substantial economic injury as a result of such disaster . . . .” 15 U.S.C. § 636(b)(2) (emphasis

added). Aside from the conclusory allegation that his business “was negatively impacted and

suffered substantial economic injury” due to the “COVID-19 [pandemic] and economic

downturn,” Compl. ¶ 10, Plaintiff has not alleged facts sufficient to show the nature or degree of

any economic injury he suffered for purposes of determining his eligibility for EIDL under the

Small Business Act and/or the CARES Act.

       Third, Plaintiff fails to plausibly allege that officials of the SBA acted in disregard of any

right or in violation of any duty imposed on them by the Small Business Act or the CARES Act.

Plaintiff’s allegation that “Congress did not give the SBA authority” to determine whether a

business “was or [was] not an active revenue reporting entity prior to the disaster,” Compl. ¶ 30,

is meritless, as EIDLs and related advances were intended to help small businesses overcome a

temporary loss of revenue resulting from the pandemic. Plaintiff concedes that the SBA timely

reviewed his applications, at least initially. Id. ¶ 10 (applied for EIDL on April 21, 2021); id.

¶¶ 11-12 (SBA denied his EIDL advance and loan applications on June 6 and 20, 2021,

respectively). Plaintiff’s grievance lies not in the time SBA took in making a decision; rather,

Plaintiff vaguely alleges that “SBA[] showed inconsistency with its procedures each step of the

process.” id. ¶ 29. Specifically, Plaintiff takes issue with the SBA’s alleged “change on their

policies [whereby] they were not accepting stamped returns anymore,” instead opting to receive

tax-related information directly from the IRS, which was experiencing a backlog. Id. ¶ 20; see

also id. ¶ 13. But the CARES Act expressly permitted the SBA to seek information directly from




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the IRS prior to making loan decisions. Consequently, Plaintiff’s conclusory allegations that the

SBA’s actions in denying his applications violated the CARES Act; were arbitrary, capricious, or

an abuse of discretion; or were otherwise not in accordance with law, fails to state a claim.

       For those reasons, Plaintiff's request for declaratory relief against the SBA also fails.

“[T]he Declaratory Judgments Act is not an independent source of federal jurisdiction; the

availability of such relief presupposes the existence of a judicially remediable right.” Schilling v.

Rogers, 363 U.S. 666, 677 (1960) (internal citation omitted); 28 U.S.C. § 2201(a). Plaintiff does

not assert a judicially remediable right against the SBA. Plaintiff’s claims for declaratory relief

and Counts I through IV of the Complaint as against all defendants should be dismissed for

failure to state cognizable claims under the CARES Act and the APA. Fed. R. Civ. P. 12(b)(6).

D.     Plaintiff Fails to State Any Claim Against the Non-SBA Defendants

       Finally, the Court should dismiss the Complaint in its entirety as to the non-SBA

defendants pursuant to Rule 12(b)(6). The SBA—not the Treasury—is the agency with authority

to distribute EIDL funds. See 15 U.S.C. § 636(b)(1)(A) (providing that the SBA is “empowered

to the extent and in such amounts as provided in advance in appropriation Acts” to “make such

loans” as the SBA “may determine to be necessary or appropriate to any small business concern

. . . in an area affected by a disaster”); CARES Act, Pub. L. 116-136, § 1110, 134 Stat. 281 (Mar.

27, 2020) (tasking the SBA with administering the EIDL funds and the Paycheck Protection

Program); 13 C.F.R. § 123.5(a) (explaining that the “SBA offers four kinds of disaster loans”).

Aside from a vague reference to a “backlog” at the IRS, see Compl. ¶¶ 13, 28, the Complaint

alleges no specific or non-conclusory facts demonstrating any wrongdoing by the non-SBA

defendants whatsoever. Iqbal, 556 U.S. at 678; Twombly, 550 U.S. at 570; see, e.g., Burke v.

Verizon Communications, No. 18 Civ. 4496 (PGG) (GWG), 2020 WL 4741043, at *4 (S.D.N.Y.




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Aug. 17, 2020) (“Not only is the NY AG not a necessary party to this action, the [complaint] is

devoid of any factual allegations against the NY AG whatsoever, and thus fails to state a claim

pursuant to [Rule] 12(b)(6). Even giving Burke the ‘special solicitude’ owed to pro se plaintiffs

and ‘interpreting the complaint to raise the strongest claims that it suggests,’ the [complaint]

simply does not ‘contain factual allegations sufficient to raise a right to relief above the

speculative level.’” (internal citations omitted)).

                                          CONCLUSION

       For the foregoing reasons, the Complaint should be dismissed in its entirety pursuant to

Rules 12(b)(1) and 12(b)(6) of the Federal Rules of Civil Procedure.

Dated: New York, New York
       May 4, 2023

                                               Respectfully submitted,

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